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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


CHICAGO WOMEN IN TRADES,                        )
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )             Case No. 25 C 2005
                                                )
PRESIDENT DONALD J. TRUMP,                      )
DEPARTMENT OF LABOR, ACTING                     )
SECRETARY OF LABOR VINCENT                      )
MICONE, OFFICE OF MANAGEMENT                    )
AND BUDGET, DIRECTOR OF THE                     )
OFFICE OF MANAGEMENT AND                        )
BUDGET RUSSELL VOUGHT, U.S.                     )
DEPARTMENT OF JUSTICE, ATTORNEY                 )
GENERAL OF THE U.S. DEPARTMENT                  )
OF JUSTICE PAMELA BONDI,                        )
                                                )
                     Defendants.                )

                         MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       In this order, the Court considers plaintiff Chicago Women in Trades's (CWIT)

motion for a preliminary injunction. The order describes the lawsuit, the motion, and the

basis for the Court's ruling.

       The Court concludes that a preliminary injunction is warranted against the

Department of Labor (DOL) from requiring any grantee or contractor to make a

certification pursuant to section 3(b)(iv) of Executive Order 14173. The Court further

enjoins DOL from applying section 2(b)(i) of Executive Order 14151 against CWIT to

prevent termination of its Women in Apprenticeship and Nontraditional Occupations
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grant. The Court otherwise denies CWIT's motion for a preliminary injunction.

                                       Background

A.     Chicago Women in Trades

       Chicago Women in Trades is a non-profit organization dedicated "to promoting

diversity, equity, and inclusion within the skilled trades industry." Compl. ¶ 12. It

provides programming "centered on equity," including "training programs, best practices

guides, employer resources, and advocacy to attract and retain women in skilled

trades." Id. ¶ 35; Mem. in Supp. of Prelim. Inj. at 2. These programs are focused on

"preparing women across the country to enter and remain in high-wage skilled trades,

including carpentry, electrical work, welding, plumbing, and others." Compl. ¶ 12.

Although primarily based in Illinois, CWIT "has provided technical assistance and

gender equity training to industry stakeholders in all 50 states." Vellinga Decl. ¶ 15; see

also Compl. ¶ 38.

       Federal funding accounts for roughly forty percent of CWIT's annual budget. The

remainder of CWIT's budget is funded by private donors and non-federal grants. In

particular, CWIT highlights five federal funding sources.

       First, CWIT receives a Women in Apprenticeship and Nontraditional Occupations

(WANTO) grant from the DOL Women's Bureau. Under the Women in Apprenticeship

and Nontraditional Occupations Act, DOL must "make grants to community-based

organizations to provide technical assistance to employers and labor unions."

29 U.S.C. § 2503(a). The Act's provided examples of these "technical assistance"

grants all involve supporting women in the skilled trades. See id. § 2503(a)(1)–(7). This

grant funds CWIT's "Transforming the Workforce System to Ensure Gender Equity in



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Infrastructure" program, under which CWIT provides technical assistance,

apprenticeship, and workforce equity plans for women in the skilled trades.

       In 2024, Congress enacted the Further Consolidated Appropriations Act of 2024,

which "[p]rovided further, That of the amounts made available to the [DOL] Women's

Bureau, not less than $5,000,000 shall be used for grants authorized by the Women in

Apprenticeship and Nontraditional Occupations Act." See Further Consolidated

Appropriations Act, 2024, Pub. L. No. 118-47, 138 Stat. 460, 641; see also Compl. ¶ 49.

The Further Consolidated Appropriations Act of 2024 "appropriated [funds], out of any

money in the Treasury not otherwise appropriated, for the fiscal year ending September

30, 2024." Id. 138 Stat. 460, 461. On September 26, 2024, Congress passed the

Continuing Appropriations and Extensions Act of 2025, which appropriated

       [s]uch amounts as may be necessary, at a rate for operations as provided
       in the applicable appropriations Act for fiscal year 2024 and under the
       authority and conditions provided in such Acts, for continuing projects or
       activities . . . that are not otherwise specifically provided for in this Act, that
       were conducted in fiscal year 2024, and for which appropriations, funds, or
       other authority were made available in the following appropriations Acts: . . .
       (8) The Departments of Labor, Health and Human Services, and Education,
       and Related Agencies Appropriations Act, 2024 (division D of Public Law
       118-47).

Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 118-83, Div. A, § 101,

138 Stat. 1524, 1524–25. This Act stated that "[a]ppropriations made by section 101

shall be available to the extent and in the manner that would be provided by the

pertinent appropriations Act" and that "appropriations and funds made available and

authority granted pursuant to this Act shall be available until . . . December 20, 2024."

Id., Div. A, §§ 103, 106, 138 Stat. 1524, 1526. The Act does not otherwise reference

the Further Consolidated Appropriations Act of 2024's provision requiring not less than



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$5 million to be allocated to grants under the WANTO Act, indicating that those grants

are to continue to be funded "as provided in the applicable appropriations Act for fiscal

year 2024." Id., Div. A, § 101, 138 Stat. 1524, 1524.

       On March 15, 2025, Congress enacted the Full-Year Continuing Appropriations

and Extensions Act of 2025, again appropriating

       [s]uch amounts as may be necessary, at the level specified in subsection
       (c) and under the authority and conditions provided in applicable
       appropriations Acts for fiscal year 2024, for projects or activities . . . that are
       not otherwise specifically provided for, and for which appropriations, funds,
       or other authority were made available in the following appropriations
       Acts: . . . (8) The Department of Labor, Health and Human Services, and
       Education, and Related Agencies Appropriations Act, 2024 (division D of
       Public Law 118-47).

Full-Year Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, Div.

A, Title I, § 1101, 139 Stat. 9, 10. Subsection (c) states that "[t]he level referred to in

subsection (a) shall be the amounts appropriated in the appropriations Act referred to in

such subsection, including transfers and obligation limitations." Id., Div. A, Title I,

§ 1101(c), 139 Stat. 9, 12. The Act again does not otherwise reference the Further

Consolidated Appropriations Act of 2024's provision that not less than $5 million be

allocated to grants under the WANTO Act, again indicating that those grants should

continue to be funded "as provided in the applicable appropriations Act for fiscal year

2024." Id., Div. A, Title I, § 1101, 139 Stat. 9, 10.

       Second, CWIT receives an Apprenticeship Building America (ABA) grant from

DOL. Two acts authorize the ABA grant: the National Apprenticeship Act and the

American Competitiveness and Workforce Improvement Act. These Acts authorize

DOL to "bring together employers and labor for the formulation of programs of

apprenticeship" and "award grants" to "establish demonstration programs or projects to

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provide technical skills training for workers, including both employed and unemployed

workers." 29 U.S.C. §§ 50, 2916a(1)–(2). This grant partially funds two of CWIT's

apprenticeship programs that build participants' test preparedness and workplace

readiness.

      Third, CWIT holds a subcontract with an organization called Jobs for the Future

(JFF). JFF, in turn, is funded by DOL through its Improving Diversity and Equity

Apprenticeship for Manufacturing (IDEA-M) program. Under this subcontract, CWIT

receives funding in exchange for providing services that increase and retain women in

advanced manufacturing apprenticeship programs.

      Fourth, CWIT is a subrecipient to JFF's Apprenticeship USA grant, again funded

by DOL. To receive grant funding, CWIT is required to conduct apprenticeship

programs, serve as a subject matter expert at events, research and document best

practices for recruitment of women, and lead training sessions.

      Fifth, CWIT is a subrecipient of a Tradeswomen Building Infrastructure Initiative

(TBII) grant. DOL, under the Workforce Innovation and Opportunity Act, awarded the

Illinois Department of Labor a TBII grant, and CWIT received a subaward. Under this

grant, CWIT works with local communities to promote diverse worksites and

harassment-free workplaces and to conduct data evaluation and best practices training.

      In sum, CWIT leads a diverse array of educational and apprenticeship programs

focused on retaining and increasing the employment of women in skilled trades. A

substantial amount of CWIT's funding to conduct these programs comes from grants

that originate with the Department of Labor, a department in the Executive Branch.




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B.     The Executive Orders

       In the first two days of the new administration, President Donald J. Trump issued

two Executive Orders addressing diversity, equity, and inclusion (DEI). The January 20,

2025 Order (J20 Order), titled "Ending Radical and Wasteful Government DEI Programs

and Preferencing," focused on ending DEI programs within the federal government.

Exec. Order No. 14151, 90 Fed. Reg. 8339, § 1; Compl., Ex. A. The January 21, 2025

Order (J21 Order), titled "Ending Illegal Discrimination and Restoring Merit-Based

Opportunity," focused on "enforcing civil rights laws" by "ending illegal preferences and

discrimination" in both the federal government and the private sector. Exec. Order No.

14173, 90 Fed. Reg. 8633, § 1; Compl., Ex. B.

       CWIT challenges the legality of two provisions of the J20 Order and three

provisions of the J21 Order. Other provisions of these orders are not in dispute.

Because both Orders contain a severability clause, unchallenged provisions will remain

in effect even if CWIT is successful in its lawsuit. See Exec. Order No. 14151, 90 Fed.

Reg. 8339, § 3 ("If any provision of this order . . . is held to be invalid, the remainder of

this order and the application of its provisions to any other persons or circumstances

shall not be affected thereby."); Exec. Order No. 14173, 90 Fed. Reg. 8633, § 6 (same).

       1.     Termination Provisions

       The disputed provisions fall into three buckets. First, CWIT challenges the

Termination Provisions of the J20 and J21 Orders. Section 2 of the J20 Order, labelled

"Implementation," requires the Director of the Office of Management and Budget (OMB)

to "coordinate the termination of all discriminatory programs, including illegal DEI and

'diversity, equity, inclusion, and accessibility' (DEIA) mandates, policies, programs,



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preferences, and activities in the Federal Government, under whatever name they

appear." Exec. Order No. 14151, 90 Fed. Reg. 8339, § 2. Two subsections of section

2, both challenged by CWIT, further describe how these terminations will be effectuated.

All executive agencies, departments, and commission heads must, "within sixty days" of

the J20 Order:

        (i) terminate, to the maximum extent of the law, all DEI, DEIA, and
        "environmental justice" offices and positions (including but not limited to
        "Chief Diversity Officer" positions); all "equity action plans," "equity" actions,
        initiatives, or programs, "equity-related" grants or contracts; and all DEI or
        DEIA performance requirements for employees, contractors, or grantees[]
        [and]

        (ii) provide the Director of the OMB with a list of all: (A) agency or
        department DEI, DEIA, or "environmental justice" positions, committees,
        programs, services, activities, budgets, and expenditures in existence on
        November 4, 2024, and an assessment of whether [those initiatives] have
        been misleadingly relabeled . . . .

Id. § 2(b)(i)–(ii)(A).

        CWIT also challenges a similar Termination Provision in the J21 Order, which

only addresses activities within the government:

        The Director of the Office of Management and Budget . . . shall: . . . (iii)
        Terminate all "diversity," "equity," "equitable decision-making," "equitable
        deployment of financial and technical assistance," "advancing equity," and
        like mandates, requirements, programs, or activities, as appropriate.

Exec. Order No. 14173, 90 Fed. Reg. 8633, § 3(c)(iii).

        2.      Certification Provision

        Next, CWIT challenges the Certification Provision of the J21 Order. This

provision, section 3(b)(iv), requires the "head of each agency" to include "term[s]" in

"every contract or grant award" that requires the counterparty to "certify" certain matters.

Id. § 3(b)(iv)(A)–(B). Specifically, two terms are to be included in every contract or grant


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agreement under the J21 Order:

        (A) A term requiring the contractual counterparty or grant recipient to agree
        that its compliance in all respects with all applicable Federal anti-
        discrimination laws is material to the government's payment decisions for
        purposes of [the False Claims Act]; and

        (B) A term requiring such counterparty or recipient to certify that it does not
        operate any programs promoting DEI that violate any applicable Federal
        anti-discrimination laws.

Id.

        3.     Section 4(b) of the J21 Order

        Finally, CWIT challenges section 4(b) of the J21 Order. Section 4(b) directs the

Attorney General to submit "recommendations for enforcing Federal civil-rights laws and

taking other appropriate measures to encourage the private sector to end illegal

discrimination and preferences, including DEI." Id. § 4(b). Under this directive, the

Attorney General must submit

        [a] plan of specific steps or measures to deter DEI programs or principles
        (whether specifically denominated "DEI" or otherwise) that constitute illegal
        discrimination or preferences.

Id. § 4(b)(iii). And, "[a]s part of this plan," each agency is required to "identify . . .

potential civil compliance investigations of . . . large non-profit corporations." Id.

C.      Pre-litigation history

        On January 21, 2025, the United States Office of Personnel Management (OPM)

issued a memorandum to the "Heads and Acting Heads of Departments and Agencies"

directing them to, among other actions, "terminate any DEIA-related contractors" by

January 22, 2025. Off. of Personnel Mgmt., Initial Guidance Regarding DEIA Executive

Orders (Jan. 21, 2025); Parker Decl., Ex. B at 1–2.

        On January 22, 2025, CWIT received an email from the grant administrator at the

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DOL Women's Bureau, which issues the WANTO grant. The email stated that

"[e]ffective immediately, all recipients of federal financial assistance are directed to

cease all activities related to 'diversity, equity, and inclusion' (DEI) or 'diversity, equity,

inclusion, and accessibility' (DEIA) under their federal awards, consistent with the

requirements of the Executive Orders." Vellinga Decl., Ex. 1. The email further stated

that DOL was "reviewing all active federal awards and will take appropriate action,

including terminating the awards, consistent with the Executive Orders." Id. That same

day, CWIT received an identical email forwarded by the Illinois Department of Labor

concerning the TBII grant.

       Later on January 22, 2025, CWIT received a Training and Employment Notice

from DOL Acting Deputy Assistant Secretary Michelle Paczynski with the subject

heading, "Immediate Implementation of Executive Orders." Id., Ex. 2 at 1. The notice

echoed the earlier emails: "Effective immediately, all recipients of federal financial

assistance awards are directed to cease all activities related to 'diversity, equity and

inclusion' (DEI) or 'diversity, equity, inclusion, and accessibility' (DEIA) under the federal

awards, consistent with the requirements of the EOs." Id. DOL recirculated this email

on March 20, 2025. It then rescinded it five days later, claiming it had been sent in

error. Roughly sixty other grantees received these notices as well.

       On January 23, 2025, CWIT received an email from JFF, with which CWIT

subcontracts regarding the IDEA-M and Apprentice USA grants. JFF's email stated that

the Executive Orders required it "to pause immediately all activities directly tied to our

federally funded work related to 'diversity, equity, and inclusion' (DEI) or 'diversity,

equity, inclusion, and accessibility' (DEIA)." Id., Ex. 3 at 1. In response, JFF asked



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CWIT to stop "any further work" on its subcontracted DEI projects. Id.

         On March 26, 2025, JFF sent CWIT an email stating that it would be terminating

its contract with CWIT. JFF directly cited the Executive Orders as the basis for

termination: "JFF contracted with [CWIT] expressly to engage in activities no longer

'allowable' under Federal guidelines, pursuant to Executive Orders 14151 and 14173."

Pl.'s Second Mot. to Suppl. the Factual R., Ex. A at 1. At the preliminary injunction

hearing, CWIT indicated that JFF has agreed to pause termination pending further

developments in this case.

D.       The present suit

         CWIT filed the present suit on February 26, 2025 against President Trump and

the Department of Labor, the Office of Management and Budget, the Department of

Justice, and the heads of those agencies. It then moved for a temporary restraining

order (TRO) on March 18, 2025, arguing that it faces imminent, irreparable harm from

various terms of the J20 and J21 Orders. This Court granted the motion in part on

March 27, 2025, enjoining DOL from enforcing section 2(b)(i) of the J20 Order

(Termination Provision) against CWIT and from enforcing section 3(b)(iv) of the J21

Order (Certification Provision) against any grantee or contractor. See Chi. Women in

Trades v. Trump, --- F. Supp. 3d ---, No. 25 C 2005, 2025 WL 933871 (N.D. Ill. Mar. 27,

2025).

         CWIT now moves for a preliminary injunction, contending that five provisions of

the J20 and J21 Orders violate its rights under the First and Fifth Amendments to the

Constitution and also run afoul of the Constitution's Spending Clause and the separation

of powers.



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                                           Discussion

A.       Standing

         The parties present no new arguments regarding why this Court should modify

the conclusions it reached in its TRO ruling regarding CWIT's standing. The Court

adopts and incorporates its determination that CWIT lacks standing to challenge section

2(b)(ii)(A) of the J20 Order and sections 3(c)(iii) and 4(b) of the J21 Order. Id. at *2.

CWIT does have standing, however, to pursue its claims regarding section 2(b)(i) of the

J20 Order (Termination Provision) and section 3(b)(iv) of the J21 Order (Certification

Provision). See Exec. Order No. 14151, 90 Fed. Reg. 8339, § 2(b)(i); Exec. Order No.

14173, 90 Fed. Reg. 8633, § 3(b)(iv). The Court will elaborate on its prior conclusion

below.

         "Article III of the Constitution limits the federal judicial power to certain 'cases'

and 'controversies.'" Silha v. ACT, Inc., 807 F.3d 169, 172–73 (7th Cir. 2015) (quoting

Lujan v. Defs. of Wildlife, 504 U.S. 555, 559–60 (1992)). A case or controversy is

present when a plaintiff establishes the "irreducible constitutional minimum" of standing.

Id. (quoting Lujan, 504 U.S. at 559–60). Standing has three elements: a plaintiff must

demonstrate that it has (1) "suffered a concrete and particularized injury that is either

actual or imminent," (2) "that the injury is fairly traceable to the defendant," and (3) "that

it is likely that a favorable decision will redress that injury." Massachusetts v. E.P.A.,

549 U.S. 497, 517 (2007).

         Although "imminent" injury may suffice for standing, it "must be certainly

impending to constitute injury in fact"—"allegations of possible future injury are not

sufficient." Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013) (citation omitted).



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Still, "[i]t is well established that preenforcement challenges are within Article III." ACLU

v. Alvarez, 679 F.3d 583, 590 (7th Cir. 2012) (cleaned up). A plaintiff may establish

imminent injury prior to enforcement by showing either an "intention to engage in a

course of conduct arguably affected by a policy" coupled with a "credible threat the

policy will be enforced against" the plaintiff or a "chilling effect" on its speech that is

"objectively reasonable" and results in "self-censorship." Speech First, Inc. v. Killeen,

968 F.3d 628, 638 (7th Cir. 2020).

       The "burden to demonstrate standing in the context of a preliminary injunction

motion is 'at least as great as the burden of resisting a summary judgment motion.'" Id.

(quoting Lujan v. Nat'l Wildlife Fed'n, 497 U.S. 871, 907 n.8 (1990) (Blackmun, J.,

dissenting)). The plaintiff must "set forth by affidavit or other evidence 'specific facts,'

rather than general factual allegations of injury." Id. (cleaned up).

       When, as in this case, a plaintiff "attack[s] a number of diverse provisions" of an

enactment, its "standing to sue must be evaluated with respect to each specific

challenge." Genusa v. City of Peoria, 619 F.2d 1203, 1209 (7th Cir. 1980).

Accordingly, the Court addresses CWIT's standing to challenge the Termination and

Certification Provisions of the Executive Orders.

       1.     Section 2(b)(i) of the J20 Order (Termination Provision)

       Section 2(b)(i) of the J20 Order requires each agency to "terminate, to the

maximum extent allowed by law, all . . . 'equity-related' grants." Exec. Order No. 14151,

90 Fed. Reg. 8339, § 2(b)(i). Although the government has not yet terminated CWIT's

grants, CWIT has shown a sufficiently imminent injury to maintain a pre-enforcement

challenge. CWIT's grants appear to be squarely targeted by this Termination



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Provision—the provision requires the termination of "equity-related" grants, and CWIT

alleges that it is a grantee that provides programming "centered on equity." See Compl.

¶ 35. CWIT has also received several credible threats of enforcement, including from

grant issuers, to "cease all activities related to [DEI] or [DEIA] under the federal awards,

consistent with the requirements of the Executive Orders." Vellinga Decl., Ex. 1

(emphasis added). This provision of the J20 Order requires the termination of grants

"within sixty days of this order," i.e., March 21, 2025, a clear indication of imminent

injury. See Exec. Order No. 14151, 90 Fed. Reg. 8339, § 2(b)(i). Finally, CWIT has

been notified that one of its subcontracts will be terminated due to the Executive Orders.

As discussed, JFF, with which CWIT subcontracts for two of the grants at issue,

recently advised CWIT that "[b]ecause once-allowable activities are no longer allowable,

corresponding funding is no longer available." Pl.'s Second Mot. to Suppl. the Factual

R., Ex. A at 1. As noted above, it appears that JFF has, due to the Court's TRO,

temporarily paused its decision to terminate its subcontracts. But that does not make

the injury any less imminent. Rather, it appears that JFF has held off on termination

only because of the present lawsuit.

       2.     Section 3(b)(iv) of the J21 Order (Certification Provision)

       Section 3(b)(iv) of the J21 Order states that each agency "shall include in

every . . . grant award" a certification, enforceable via the False Claims Act, that the

grantee "does not operate any programs promoting DEI that violate any applicable

Federal anti-discrimination laws." Exec. Order No. 14173, 90 Fed. Reg. 8633,

§ 3(b)(iv). CWIT alleges that because it is a grantee that provides programs promoting

employment opportunities for women, there is a strong basis to believe that the



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government may consider its conduct to fall within the scope of this provision. As

described above, the day after the J20 Order was signed, OPM issued an internal

memorandum directing all agency heads to "terminate any DEIA-related contractors" by

January 22, 2025. Off. of Personnel Mgmt., Initial Guidance Regarding DEIA Executive

Orders (Jan. 21, 2025); Parker Decl., Ex. B at 1–2. CWIT received multiple emails from

DOL on January 22 directing it to cease DEI-related activity and warning of possible

termination of grants. See Vellinga Decl., Exs. 1–2. Further, JFF sent CWIT a notice of

termination of its subcontract—paused only due to the proceedings in this case—based

on the threatened enforcement of these Executive Orders. These are credible threats

of enforcement from the government and indicate that CWIT may run afoul of any

required certifications included in future grant awards pursuant to the J21 Order.

       In addition, CWIT alleges that it faces pressure to self-censor in response to the

Orders, which supports the proposition that there is a chilling effect on grantees. For

example, "one of the pass-through entities with which CWIT works informed CWIT that

subsequent to the Executive Orders, its contract with DOL had been unilaterally

modified to remove all references to 'DEI' and 'DEIA.'" Suppl. Vellinga Decl. ¶ 14. This

pass-through entity "threatened to terminate CWIT's subgrant unless it self-censored

and . . . eliminate[d] any references to 'DEI' and 'DEIA' for an upcoming technical

assistance program." Id. ¶ 15. CWIT further contends that the "pass-through entity has

rejected CWIT's proposed training materials that retained the words 'Diversity and

Equity' in the title, though the materials did not otherwise mention diversity, equity, or

inclusion." Id. Despite this, CWIT alleges that it has received no guidance from the

entity on how to modify its materials to comply with the amended contract requirement.



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Id. ¶ 16.

       Similarly, CWIT says that one of its contractors contacted CWIT to ask if any

presentations could be made without referencing DEI or including DEI content.

According to CWIT, "[t]he contractor suggested that it asked these questions because of

the Executive Orders." Vellinga Decl. ¶ 46.

       CWIT is not alone in this regard. Both the January 22, 2025 Training and

Employment Notice and its recirculation on March 20, 2025, which directed "all

recipients of federal financial assistance awards . . . to cease all activities related to

'diversity, equity and inclusion' (DEI)," were sent by DOL to CWIT and roughly sixty

other grantees. See Vellinga Decl., Ex. 2 at 1; Pl.'s Mot. to Suppl. the Factual R., Ex. A

at 1. Even if DOL recirculated the notice in error, the mistake does not overcome the

fact that grantees had already been made well aware by the January 22, 2025 email

that their financial awards were in peril as long as they continued DEI programs.

       Defendants do not dispute any of CWIT's averments in this regard. CWIT

contends that these matters exemplify the sort of self-censorship pressure that it and

other grantees face and will continue to face under the J20 and J21 Orders.

                         *                     *                     *

       The Court concludes that for both the Termination and Certification Provisions,

CWIT has established injuries imminent enough to constitute concrete injuries in fact

that support standing. In addition to the fact that the Orders themselves, and the

communications CWIT and others have received, indicate that enforcement is imminent,

the provisions put grantees like CWIT in the position of having to act now to avoid

adverse consequences in the near future. Among other things, compliance with the



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Certification Provision—which requires a verification by the grantee that none of its

programs (not just its programs under government grants) "promot[e] DEI"—calls upon

a grantee like CWIT to modify its activities and advocacy now so that it can make an

appropriate certification to avoid having the axe fall.

        The imminent injuries are also fairly traceable to the defendants. Specifically, the

Termination and Certification Provisions are included in Executive Orders signed by the

President that, by their terms, require implementation by DOL and other federal

agencies. Finally, an injunction preventing these provisions from being enforced would

prevent the injury from taking place.

        In sum, the Court is persuaded that CWIT has standing to pursue its challenges

to the Termination Provision (section 2(b)(i) of the J20 Order) and the Certification

Provision (section 3(b)(iv) of the J21 Order).

B.      Ripeness

        The government also argues that CWIT's challenges are not ripe. "Much like

standing, ripeness gives effect to Article III's Case or Controversy requirement by

'preventing the courts, through avoidance of premature adjudication, from entangling

themselves in abstract disagreements.'" Sweeney v. Raoul, 990 F.3d 555, 559–60 (7th

Cir. 2021) (quoting Abbott Laby's v. Gardner, 387 U.S. 136, 148 (1967)). Although

standing and ripeness are "related," they require "distinct inquiries." Ind. Right to Life,

Inc. v. Shepard, 507 F.3d 545, 549 (7th Cir. 2007). Whereas "standing focuses on who

may bring a ripe action," ripeness concerns "when an action may be brought." Id.

(quoting Pic-A-State Pa. Inc. v. Reno, 76 F.3d 1294, 1298 n.1 (3d Cir. 1996)). In

evaluating ripeness, courts consider "both the fitness of the issues for judicial decision



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and the hardship to the parties of withholding court consideration." Sweeney, 990 F.3d

at 560 (quoting Abbott Laby's, 387 U.S. at 149).

       1.     General ripeness considerations

       The government contends that CWIT's claims are not ripe as they are based on

"possible actions that agencies might take under the EOs." Defs.' Mem. in Opp. at 13.

But as discussed above, a plaintiff may bring a pre-enforcement action in appropriate

circumstances. See Brown v. Kemp, 86 F.4th 745, 761 (7th Cir. 2023) ("A party who is

the target of an unconstitutional law need not expose himself to liability before

challenging its constitutionality . . . ."). And based on CWIT's affidavits, CWIT faces

serious harm if consideration of its challenges is withheld—every day that passes

increases the risk of termination of its grants and, correspondingly, increases the

pressure to self-censor its speech. In fact, as indicated, JFF has already informed

CWIT that it will terminate its subcontracts with CWIT due to the Executive Orders, with

only this Court's proceedings convincing it to pause such termination. See Pl.'s Second

Mot. to Suppl. the Factual R., Ex. A at 1.

       2.     Tucker Act

       The government further contends that CWIT's claims against the Termination

Provision are unripe in light of the Tucker Act. See Defs.' Mem. in Opp. at 13.

Specifically, the government argues that CWIT's claims are properly breach of contract

claims that should only be brought after its grants are terminated. Accordingly, the

government contends that the present matter is unripe and that jurisdiction would

properly lie with the Court of Federal Claims under the Tucker Act once a grant has

been terminated.



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       The Tucker Act provides for exclusive jurisdiction in the Court of Federal Claims

over contract actions against the United States exceeding $10,000. See 28 U.S.C.

§ 1491(a)(1) (conferring upon the U.S. Court of Federal Claims jurisdiction over actions

"founded . . . upon any express or implied contract with the United States"); Id.

§ 1346(a)(2) (granting district courts concurrent jurisdiction with the Court of Federal

Claims for claims against the United States "not exceeding $10,000" founded upon

express or implied contracts); Clark v. United States, 691 F.2d 837, 840 (7th Cir. 1982).

       An action does not fall within the exclusive jurisdiction of the Court of Federal

Claims, however, simply because it implicates a contract in some way. "[T]he mere fact

that a court may rule on a contract issue does not . . . automatically transform an

action . . . into one on the contract and deprive the court of jurisdiction it might otherwise

have." Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982). Rather, an action

invokes the Tucker Act's jurisdictional hook only when the claim is "at its essence" a

contract claim. Id. at 967. "[W]here there is a possible alternative basis for jurisdiction

independent of the Tucker Act," a court "must be more deliberat[ive] in [its] examination"

of whether the particular action is "one which is or is not 'at its essence' a contract

action." Id. at 968.

       To determine the essence of an action, a court looks at "both the source of the

rights upon which the plaintiff bases its claims, and . . . the type of relief sought (or

appropriate)." Id.; see also Evers v. Astrue, 536 F.3d 651, 657–58 (7th Cir. 2008)

(collecting cases using this framework to determine whether an action "relates to a

contract" and citing them persuasively).

       The Court remains unpersuaded by the government's argument that CWIT's



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claims arise out of a "contract." The government contends that CWIT's "claim as to the

Termination Provision is not ripe for review" in light of a recent Supreme Court order

that, it says, indicates "serious questions about whether this Court would have

jurisdiction to review [CWIT's] future post-termination claims." Defs.' Notice of Suppl.

Authority at 1 (referencing the Supreme Court's April 4, 2025 order staying an injunction

in Department of Education v. California, 604 U.S. ---, 2025 WL 1008354 (April 4, 2025)

(per curiam)). Because, the government contends, CWIT's suit is, "[a]t bottom, a

request to enjoin the termination of contracts/grants," it is, "in essence, an 'enforcement

of the Government's contractual obligation to pay money.'" Id. at 2 (quoting Dep't of

Educ., 2025 WL 1008354, at *2) (cleaned up). In particular, the government argues, the

Court's enjoining of the Termination Provision amounts to an order to continue paying

funds to CWIT. On these grounds, the government contends that the case amounts to

a contract dispute, meaning jurisdiction would lie in the Court of Federal Claims once

CWIT's grants are terminated but that, until that condition occurs, the claims remain

unripe for review.

       The government also contends that, at the TRO hearing, CWIT's counsel

"conceded that jurisdiction over a contract dispute would [lie] in the Court of Federal

Claims even if the dispute involved constitutional rights" but argued that "the same

jurisdictional limit does not apply to disputes over federal grants." Id. According to the

government, however, "[t]he Supreme Court's order, which applies the Tucker Act to a

dispute involving federal grants, forecloses any such distinction." Id.

       The Court is unpersuaded that CWIT's claims are unripe on the basis argued by

the government. Irrespective of whether grants and contracts are indistinguishable



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when it comes to Tucker Act jurisdiction, the facts of this case and CWIT's requested

relief distinguish it from the Supreme Court's recent decision.

       CWIT's claims are not in essence contract actions. Both the source of the rights

claimed and the type of relief sought are disconnected from any underlying contract.

See Megapulse, Inc., 672 F.2d at 405–06 ("We disagree, however, with the district

court's . . . suggest[ion] that any case requiring some reference to or incorporation of a

contract is necessarily on the contract and therefore directly within the Tucker Act.").

CWIT's claims arise under the First and Fifth Amendments, the Spending Clause, and

the separation of powers and thus all derive from the Constitution. They are not claims

for, or like, breach of contract.

       Additionally, the fact that CWIT exclusively seeks injunctive relief highlights that it

is not seeking relief that is "in essence" monetary relief from the federal government.

See Crowley Gov't Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1102, 1110–11

(D.C. Cir. 2022) ("We conclude that Crowley's requested declaratory and injunctive

relief is 'not specific to actions that sound in contract.' . . . And, critically, Crowley does

not 'in essence' seek more than $10,000 in monetary relief from the federal government,

as the declaratory and injunctive relief sought has 'considerable value' apart from and is

not 'negligible in comparison' to any potential monetary recovery that Crowley might

obtain in other proceedings.") (citations omitted). It is true, of course, that an injunction

precluding DOL from terminating a grant to CWIT effectively requires the government to

keep funding the grant. But "[t]he fact that a judicial remedy may require one party to

pay money to another is not a sufficient reason to characterize the relief as 'money

damages.'" Bowen v. Massachusetts, 487 U.S. 879, 893 (1988). Here, CWIT in its



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complaint expressly asks only for injunctive relief. It has made no request for money

damages (other than its request for attorney's fees, which does not amount to a request

for specific performance of contractual obligations).

       This sole focus on injunctive relief further supports this Court's jurisdiction, as the

Court of Federal Claims could not provide the equitable relief CWIT seeks. The Court

of Federal Claims "has no power to grant equitable relief." Id. at 905 (citation omitted).

Yet only the equitable relief of enjoining the government from enforcing the Certification

Provision can prevent harms such as chilled speech, a harm that monetary remedies

are insufficient to address. Cf. Alvarez, 679 F.3d at 589 (noting the "loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury" and that that "damages are . . . not an adequate remedy" (first

quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion)).

       Of course, CWIT's claims implicate its grant agreements; it would have no basis

to pursue its claims were it not a grant recipient or a subgrantee. But its rights under

the First Amendment, the Fifth Amendment, and the other constitutional provisions it

cites exist independent of the Termination Provision's enforcement. See Megapulse,

672 F.2d at 968 ("[T]he mere fact that a court may have to rule on a contract issue does

not, by triggering some mystical metamorphosis, automatically transform an action

based on trespass or conversion into one on the contract and deprive the court of

jurisdiction it might otherwise have."); see also Crowley Gov't Servs., 38 F.4th at 1110

("Granted, Crowley's claim presupposes the existence of a contract, as without one the

GSA would have no invoices to audit. But the right Crowley seeks to vindicate is not a

contract right and its action in district court only 'require[s] some reference to or



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incorporation of [the] contract.'") (citation omitted). CWIT is not seeking via this lawsuit

to vindicate a contractual right to grant funds; rather, it alleges infringement of

constitutional prohibitions, including a contention that the Executive Orders chill First

Amendment-protected speech.

        These circumstances make this case quite different from Department of

Education v. California. In that case, the plaintiffs' only claim was that the government's

termination of grants was arbitrary and capricious under the Administrative Procedures

Act. Dep't of Educ., 2025 WL 1008354, at *1. In a two-page, per curiam opinion, the

Court found the government was "likely to succeed in showing the District Court lacked

jurisdiction," stating that jurisdiction would likely lie in the Court of Federal Claims under

the Tucker Act. Id. at *2. "The whole premise" of the plaintiffs' suit was that "the grants

were wrongfully terminated." Reply in Supp. of Appl. to Vacate at 8, Dep't of Educ.,

2025 WL 1008354. There was no indication that there was a claim of an infringement of

a constitutional right or a chilling effect on free speech.

        The Court therefore finds that Department of Education v. California

distinguishable and concludes that the Tucker Act does not preclude CWIT from

proceeding in district court.

        Having established CWIT's standing, ripeness, and the Court's jurisdiction, the

Court proceeds to the merits of CWIT's claims.

D.      Standard for preliminary injunction

        To obtain a preliminary injunction, the movant "must establish that [it] is likely to

succeed on the merits, that [it] is likely to suffer irreparable harm in the absence of

preliminary relief, that the balance of equities tips in [its] favor, and that an injunction is



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in the public interest." Bevis v. City of Naperville, 85 F.4th 1175, 1188 (7th Cir. 2023)

(quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). When, as here,

the government is a party to the suit, "assessing the harm to the opposing party and

weighing the public interest . . . merge." Nken v. Holder, 556 U.S. 418, 435 (2009).

Because injunctive relief is "an extraordinary and drastic remedy," the party seeking an

injunction "carries the burden of persuasion" on each of these points. Mazurek v.

Armstrong, 520 U.S. 968, 972 (1997).

       1.     Likelihood of success on the merits

       CWIT first argues that the challenged provisions of the Executive Orders violate

the First Amendment. The Court begins with this contention, as "[i]n First Amendment

cases, the likelihood of success . . . will often be the determinative factor" in deciding

whether to grant an injunction. Alvarez, 679 F.3d at 589 (cleaned up).

              a.     Certification Provision

                     i.     First Amendment

       In granting CWIT's motion for a TRO, the Court concluded that CWIT was likely

to prevail on the merits in showing that the Certification Provision violated certifying

entities' First Amendment rights. See Chi. Women in Trades, 2025 WL 933871, at *8–9.

In its supplemental memorandum opposing a preliminary injunction, the government

does not present any new arguments about the Certification Provision but rather asks

the Court to reconsider its analysis based on the arguments the government raised in its

initial memorandum. Even with a second look, the Court concludes that CWIT will likely

succeed on the merits of this claim.

       CWIT argues that section 3(b)(iv) of the J21 Order unconstitutionally infringes on



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its First Amendment rights because the Order effectively regulates CWIT's conduct

outside of the contours of the federal grants. As discussed below, the government has

wide latitude in making funding decisions. Rust v. Sullivan, 500 U.S. 173, 193 (1991).

When the government puts an unwanted condition on funding, a fund recipient's usual

"recourse is to decline the funds." Agency for Int'l Dev. v. All. for Open Soc'y Int'l, Inc.,

570 U.S. 205, 214 (2013) (hereinafter AID). "This remains true when the objection is

that a condition may affect the recipient's exercise of its First Amendment rights." Id.

       Still, the government may not use funding conditions to regulate speech

generally. Although the government may use conditions to "define the federal

program," it may not "reach outside" the program to influence speech. Id. at 217.

"[F]unding condition[s] can result in an unconstitutional burden on First Amendment

rights" when the government goes beyond "defining the limits of the Government

spending program" and extends to "leverag[ing] funding to regulate speech outside of

the contours of the federal program itself." Id. at 206.

       The government conceded at oral argument that the Certification Provision

attempts to regulate grantees' speech outside of their federally-funded programs. Defs.'

Second Mem. in Opp., Ex. A at 44:13–15 (transcript from the TRO hearing in which the

government stated: "[W]e're not arguing that the Certification Provision doesn't apply

outside of the grants or contracts. It does. It plainly does."). The provision on its face

makes clear that a counterparty must certify that it does not operate any program that

promotes DEI, irrespective of whether the program is federally funded.

       The government contends that the Certification Provision is permissible, as it

simply requires certification that the grantee is not breaking the law. Because a grantee



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has no constitutional right to violate the law, the government argues, its receipt of funds

may appropriately be conditioned upon its certification that it abides by anti-

discrimination laws. In this regard, the government emphasizes that the Certification

Provision requires acknowledging only that the grantee does not operate any DEI

programs that "violate any applicable Federal antidiscrimination laws." Exec. Order No.

14173, 90 Fed. Reg. 8633, § 3(b)(iv).

       The problem, however, is that the meaning of this is left entirely to the grantee's

imagination. The Order that contains the Certification Provision does not define the

term "DEI" itself, and it does not refer to any other source indicating what the term

means as used in the Order—let alone what might make any given "DEI" program

violate Federal anti-discrimination laws. And although the government emphasized,

both in its briefing and at oral argument, that the Certification Provision implicates only

illegal DEI programs, it has studiously declined to shed any light on what this means.

The answer is anything but obvious. Indeed, the thrust of the Orders is that the

government's view of what is illegal in this regard has changed significantly with the new

Administration—even though the government has not (in the Orders) and has been

unwilling to (in its briefs or at argument) define how it has changed.

       Against this backdrop, the Certification Provision puts CWIT and other grantees

in a difficult and perhaps impossible position. They have received multiple

communications from DOL directing them to ensure compliance with the J20 and J21

Orders. The Certification Provision's application to grantees' activities that are not

federally funded means that CWIT and other grantees must either take steps now to

revise their programmatic activity so that none of it "promote[s] DEI" (whatever that is



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deemed to mean), decline to make a certification and thus lose their grants, or risk

making a certification that will be deemed false and thus subject them to liability under

the False Claims Act.

       The J21 Order's reference to "programs promoting DEI," moreover, is fairly read

as an express reference to First Amendment-protected speech and advocacy. Even if

the Certification Provision is limited to promoting whatever the government may now

contend is "illegal DEI," it is a bedrock First Amendment principle that advocating for

violation of the law cannot be proscribed unless it rises to incitement. See Virginia v.

Black, 538 U.S. 343, 359 (2003) (quoting Brandenburg v. Ohio, 395 U.S. 444, 447

(1969)) ("[T]he constitutional guarantees of free speech and free press do not permit a

State to forbid or proscribe advocacy . . . of law violation except where such advocacy is

directed to inciting or producing imminent lawless action and is likely to incite or produce

such action.").

       Because CWIT has demonstrated that it is likely to succeed on the merits of its

claim in challenging the Certification Provision, the Court need not address its

arguments concerning this provision involving the Fifth Amendment, the separation of

powers, and the Spending Clause.

              b.     Termination Provision
                     i.     First Amendment

       The majority of the parties' preliminary injunction briefing discusses whether

CWIT is likely to succeed on the merits of its claim that the Termination Provision

violates CWIT's First Amendment rights. CWIT contends that, as written, the

Termination Provision violates its First Amendment right to engage in protected speech

and expressive conduct—specifically, to use its grants to implement its mission of

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providing women-focused trade apprenticeship and training programs. CWIT

acknowledges that the government may selectively fund projects. But it argues that

because the government has already awarded CWIT with a series of grants, termination

of funding would constitute a coercive post-funding penalty.

      In its TRO ruling, the Court concluded CWIT was likely to succeed on its First

Amendment claim regarding the Termination Provision. See Chi. Women in Trades,

2025 WL 933871, at *5–8. The Court's conclusion was twofold. First, the Court

determined that the Termination Provision was unduly coercive, relying on National Rifle

Association of America v. Vullo, 602 U.S. 175 (2024). Second, the Court found the

provision's vagueness produced an impermissible chilling effect on speech, citing

Grayned v. City of Rockford, 408 U.S.104 (1972).

      The government asks the Court to reconsider this ruling. It argues that Vullo's

coercion analysis is inapposite for cases involving government funding, as the

government has wide latitude to determine what it does and does not fund. See Rust,

500 U.S. at 193. Because it acts as "patron" when making funding decisions, the

government contends, it may terminate funding in accordance with its policy priorities.

This funding context, according to the government, also makes the First Amendment

vagueness concerns inapplicable. See Nat'l Endowment for the Arts v. Finley, 524 U.S.

569, 588 (1998).

      With the benefit of further briefing and argument on this issue, the Court

concludes that CWIT is not likely to succeed on the merits of its First Amendment claim

relating to the Termination Provision.

      The Court begins with a basic premise: "The government can say what it wishes



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and select the views that it wants to express." Vullo, 602 U.S. at 187 (cleaned up). The

government must be able to pursue its policy priorities—it "could barely function

otherwise." Id. To that end, the government has more leeway when funding activities

than it does when regulating them. Although the government cannot "favor one speaker

over another" when regulating activities, Rosenberger v. Rector & Visitors of the Univ. of

Va., 515 U.S. 819, 828 (1995), it may pick and choose what activities to fund: "The

Government can, without violating the Constitution, selectively fund a program to

encourage certain activities . . . without at the same time funding an alternative program

which seeks to deal with the problem another way." Rust, 500 U.S. at 193.

       Still, the government is not altogether unrestrained when funding. As discussed

earlier with regard to the Certification Provision, the government may not impose a

condition on its funding that affects "protected conduct outside the scope of the federally

funded program." AID, 570 U.S. at 218. The government may not attempt to use its

funding power to regulate beyond the scope of the funded program and avoid First

Amendment scrutiny in the process. Id. at 214–15 (noting the government cannot "seek

to leverage funding to regulate speech outside the contours of the program itself").

       The question regarding the Termination Provision, then, is whether it reflects a

funding decision or an impermissible attempt to regulate. The Court is persuaded at

this juncture that the provision concerns funding. As discussed earlier, the Termination

Provision requires agencies to terminate all "equity-related" federal grants; it does not

prohibit equity-related activities outside of funded programs. Exec. Order No. 14151,

90 Fed. Reg. 8339, § 2(b)(i). The government has made a policy choice that it no

longer wishes to support equity-related programs—a choice that it may make when



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funding. See Rust, 500 U.S. at 193. Grantees who find their grants threatened by

termination remain able to pursue equity-related activities on their "own time and dime."

AID, 570 U.S. at 218.

      National Rifle Association of America v. Vullo does not suggest a different

conclusion. Vullo and the cases it cites concern situations in which the government

attempts to use "coercive threats" to "punish[] or suppress[] disfavored speech." Vullo,

602 U.S. at 197. At first glance, Vullo's analysis would appear to apply here. CWIT

(and the Court previously) has described how the Executive Order's denunciation of

"illegal and immoral" DEI supports a conclusion that the Termination Provision is aimed

at "disfavored speech." See Chi. Women in Trades, 2025 WL 933871, at *6 (quoting

Exec. Order No. 14151, 90 Fed. Reg. 8339, § 1). And although the government argues

otherwise, "coercive threats" are not limited to threats of government investigations or

prosecutions—as the Court repeated in Vullo, "[t]he First Amendment prohibits

government officials from relying on the 'threat of invoking legal sanctions and other

means of coercion . . . to achieve the suppression' of disfavored speech." Vullo,

602 U.S. at 197 (emphasis added) (quoting Bantam Books, Inc. v. Sullivan, 372 U.S.

58, 67 (1963)); see also id. at 191 ("To state a claim that the government violated the

First Amendment through coercion of a third party, a plaintiff must plausibly allege

conduct that, viewed in context, could be reasonably understood to convey a threat of

adverse government action in order to punish or suppress the plaintiff's speech."

(emphasis added)).

      Yet even if "coercion" encompasses more than investigation and prosecution, it

likely does not encompass the termination of government funding. As discussed above,



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the government must be able to make funding decisions. A finding that the government

acts "coercively," for purposes of the Vullo line of cases, when it terminates grants

would essentially force the government to continue to support activities that conflict with

its current policy determinations. Cf. Harris v. McRae, 448 U.S. 297, 317 n.19 (1980)

("A refusal to fund protected activity, without more, cannot be equated with the

imposition of a 'penalty' on that activity."). This result cannot be squared with the

government's power to selectively fund some programs and not others. See Rust,

500 U.S. at 193.

       Because the Court has concluded that the Termination Provision simply involves

the government engaging in funding, as opposed to regulating, the vagueness concerns

fall away as well. National Endowment for the Arts v. Finley is analogous. In Finley, the

plaintiff brought a facial challenge to language in the National Foundation on the Arts

and Humanities Act directing the grantor to "tak[e] into consideration general standards

of decency and respect for the diverse beliefs and values of the American public" when

issuing a grant. Finley, 524 U.S. at 572 (quoting 20 U.S.C. § 954(d)(1)). The Supreme

Court noted that "[t]he terms of the provision are undeniably opaque, and if they

appeared in a criminal statute or regulatory scheme, they could raise substantial

vagueness concerns." Id. at 588. But it went on to state that it was unlikely "that

speakers will be compelled to steer too far clear of any 'forbidden area' in the context of

grants of this nature" and thus that any concerns over chilled speech due to vagueness

were "not constitutionally severe." Id. at 589; see id. at 590 (finding that the challenged

language "merely adds some imprecise considerations to an already subjective

selection process").



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       The Court previously distinguished Finley by noting that the Termination

Provision would lead grantees to "steer" away from the "forbidden area" of DEI to avoid

termination. See Chi. Women in Trades, 2025 WL 933871, at *7. That remains true.

Yet Finley makes clear that this result is not "constitutionally severe" when it is

prompted by a funding decision. Finley, 524 U.S. at 589. Although it certainly is true

that prospective grantees "may conform their speech to what they believe to be the

decisionmaking criteria in order to acquire funding," this is not akin to the chill a

"criminal statute or regulatory scheme" imposes. Id. at 588–89. Vague criminal and

regulatory statutes exert a stronger stifling force due to their legal consequences—they

"lead citizens to steer far wider of the unlawful zone." Grayned, 408 U.S. at 109

(cleaned up) (emphasis added). Vague funding criteria certainly influences speech, but

the consequence of grant termination or denial is significantly less severe than criminal

or regulatory sanction, so it is likely that less speech will be stifled. See Finley, 524 U.S.

at 588. And although citizens cannot simply opt out of criminal or regulatory

proscriptions, grantees are free to decline federal funding that they believe unduly

hinders their exercise of First Amendment rights. See AID, 570 U.S. at 214 ("As a

general matter, if a party objects to a condition on the receipt of federal funding, its

recourse is to decline the funds. This remains true when the objection is that a

condition may affect the recipient's exercise of its First Amendment rights.").

       The Court recognizes that this does not address CWIT's concern that the

government is targeting disfavored speech by terminating already funded grants. But

as the Court explained above, the language of the Termination Provision does not rise

to the level of a coercive threat such that Vullo controls. The better match for this



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situation is government-as-funder, placing this case closer to the context of Finley. And,

in the funding context, the law does not limit the government from identifying and

limiting funds for a disfavored area of speech pursuant to its policy goals. See Rust,

500 U.S. at 193.

       Therefore, the Court finds that CWIT is unlikely to succeed on its contention that

the Termination Provision violates its First Amendment rights.

                     ii.     Fifth Amendment

       "It is a basic principle of due process that an enactment is void for vagueness if

its prohibitions are not clearly defined." Grayned, 408 U.S. at 108. An enactment can

be void for vagueness if it contains "terms so vague that [persons] of common

intelligence must necessarily guess at its meaning and differ as to its applications."

Gresham v. Peterson, 225 F.3d 899, 907 (7th Cir. 2000) (quoting Roberts v. U.S.

Jaycees, 468 U.S. 609, 629 (1984)). To avoid triggering the void-for-vagueness

doctrine, an enactment "must articulate terms 'with a reasonable degree of clarity' to

reduce the risk of arbitrary enforcement and allow individuals to conform their behavior

to the requirements of the [enactment]." Id. (quoting Roberts, 468 U.S. at 629).

       To succeed on a facial void-for-vagueness challenge under the Fifth

Amendment, a plaintiff must show that "the enactment is impermissibly vague in all its

applications." Village of Hoffman Estates v. Flipside, Hoffman Ests., Inc., 455 U.S. 489,

495 (1982). When determining whether an enactment is unconstitutionally vague on its

face, "a federal court must, of course, consider any limiting construction that a[n] . . .

enforcement agency has proffered." Id. at 494 n.5 (citing Grayned, 408 U.S. at 110);

see also Forsyth County v. Nationalist Movement, 505 U.S. 123, 131 (1992) ("In



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evaluating respondent's facial challenge, we must consider the [government]'s

authoritative constructions of the ordinance, including its own implementation and

interpretation of it.").

        CWIT contends that the Termination Provision runs afoul of the void-for-

vagueness doctrine. According to CWIT, the J20 Order does not contain any "statutory

definitions, narrowing context, or settled legal meanings" regarding what constitutes

"illegal DEI." Pl.'s Mem. in Supp. of Mot. for Prelim. Inj. at 12. Therefore, CWIT argues

that the J20 Order "do[es] not let Plaintiff 'know what is required of them so they may

act accordingly.'" Id. (quoting FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253

(2012)).

        In response, the government contends that CWIT's "facial challenge under the

Due Process Clause to Presidential directives is categorically improper." Defs.' Mem. in

Opp. at 15. According to the government, the void-for-vagueness doctrine is

inapplicable to CWIT's challenges because the Termination Provision only directs

executive policy and actors, as opposed to the grantees themselves. 1 The Due Process

Clause, the government argues, "prohibits uneven enforcement, and ensures notice, of

requirements with which the public must comply," and "[n]o such concerns arise when



1 The government also contends that courts have only applied the Fifth Amendment (as

opposed to the First Amendment) void-for-vagueness doctrine outside of the statutory
context to direct regulations of primary conduct, and it cites to FCC v. Fox Television
Stations to support this proposition. The Court does not find this persuasive. Other
courts have indicated that a court may properly entertain CWIT's void-for-vagueness
challenge to Executive Orders under the Fifth Amendment. See Humanitarian L.
Project v. U.S. Treasury Dep't, 578 F.3d 1133, 1146 (9th Cir. 2009) (evaluating
Executive Orders for vagueness); Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump,
508 F. Supp. 3d 521, 545 (N.D. Cal. 2020) (holding that "Plaintiffs have demonstrated a
likelihood of success on their Due Process claim challenging . . . the Executive Order as
void for vagueness").
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the President gives his subordinates an unclear directive." Id.

       The Court finds that CWIT has not shown that it is likely to succeed on the merits

of its Fifth Amendment claim regarding the Termination Provision. There are no

references in this provision to "illegal DEI," although it appears elsewhere in the Order.

Parsing the remainder of this provision, one arguably vague phrase is "to the maximum

extent allowed by law." See Exec. Order No. 14151, 90 Fed. Reg. 8339, § 2(b)(i). Prior

to filing its second opposition memorandum, the government had not clarified what the

phrase "to the maximum extent allowed by law" meant. It now has. The Court must

consider the government's clarification in its determination of whether the Termination

Provision is unconstitutionally vague under the Fifth Amendment. See Village of

Hoffman Estates, 455 U.S. at 494 n.5; Forsyth County, 505 U.S. at 131.

       In its supplemental preliminary injunction brief, the government states that the

Termination Provision's direction to federal agencies to "terminate, to the maximum

extent allowed by law . . . all . . . 'equity-related' grants or contracts" pertains to "the

government's legal authority to terminate a contract or grant, which does not depend on

whether the equity-related activity is 'legal' or 'illegal.'" Defs.' Second Mem. in Opp. at 3.

In other words, the phrase "to the maximum extent allowed by law" as contained in the

Termination Provision references the Executive Branch's authority under Article II and

the corresponding statutes that authorize the grants. It is a limit solely on the

government's authority. Any concerns of vagueness regarding exactly what authority an

agency may have to terminate a grant are internal considerations for the agency itself;

this is not an outward-facing provision. The Fifth Amendment's void-for-vagueness

doctrine is concerned with "lack of notice" and "may be overcome in any specific case



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where reasonable persons would know that their conduct is at risk." Maynard v.

Cartwright, 486 U.S. 356, 361 (1988). But here, the grantees face no notice concerns

arising from arguably vague directions by the President to his subordinates.

       The provision's reference to "equity-related" grants is another arguably vague

phrase. As the Court has discussed, the government has shed no light on what this

phrase means or what grants it may encompass. At the preliminary injunction hearing,

the government declined to address whether, for instance, the WANTO Act—which

expressly requires funding programs to promote opportunities for women—is

considered an equity-related program such that grants under it must be terminated

under this provision of the J20 Order. But although the lack of clarity is concerning and

the statement is certainly vague, the Court must follow binding authority stating that

such vagueness is less "constitutionally severe" in the context of government funding.

See Finley, 524 U.S. at 589 ("In the context of selective subsidies, it is not always

feasible . . . to legislate with clarity."); see also Kilborn v. Amiridis, 131 F.4th 550, 565

(7th Cir. 2025) ("The degree of vagueness that the Constitution tolerates . . . depends in

part on the nature of the enactment." (quoting Village of Hoffman Estates, 455 U.S. at

498)). It is hard to see how the directive to terminate "equity-related" grants is any

vaguer than a statute "awarding scholarship and grants on the basis of subject criteria

such as 'excellence,'" which the Supreme Court allowed in Finley. Finley, 524 U.S. at

589.

       For these reasons, the Court concludes that CWIT is not likely to succeed on the

merits of its claim that the Termination Provision violates the Fifth Amendment.

Because the Court has determined that CWIT is unlikely to succeed on the merits of its



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void-for-vagueness claim, it is unnecessary to address arguments regarding whether

CWIT holds an underlying property right to its grants.

                      iii.    Spending Clause and separation of powers

       Under the Spending Clause, "the power of the purse . . . rests in the Legislative

Branch." City of Chicago v. Sessions, 888 F.3d 272, 283 (7th Cir. 2018). This authority

enables Congress to appropriate funds based on congressionally-approved priorities.

U.S. Const. art. 1, § 8, cl. 1. To abide by the separation of powers, the Executive

Branch must respect congressional appropriations; it lacks the authority to condition the

payment of grants on its political priorities, except when Congress has delegated such

authority. See Sessions, 888 F.3d at 283; see also In re Aiken County, 725 F.3d 255,

259 (D.C. Cir. 2013) (Kavanaugh, J.) ("[T]he President may not decline to follow a

statutory mandate or prohibition simply because of policy objections."). The decisive

question, then, is whether a grant's appropriation statute provides the Executive with the

authority to add additional conditions disbursing the grant. See id.

       CWIT asserts both a facial and as-applied challenge under the Spending Clause,

asserting that the government's anticipated termination of its grants via the Executive

Orders violates the separation of powers doctrine. Facial challenges are more difficult

to make outside the First Amendment context: in those circumstances, "a law is not

facially unconstitutional unless it is 'unconstitutional in all of its applications.'" Ezell v.

City of Chicago, 651 F.3d 684, 698 (7th Cir. 2011) (quoting Wash. State Grange v.

Wash. State Republican Party, 552 U.S. 442, 449 (2008)).

       The Court concludes that CWIT is unlikely to succeed on the merits of its facial

separation of powers challenge to the Termination Provision. To show that the



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provision's requirement to terminate equity-related grants violates the separation of

powers in all applications, CWIT would need to show that the Termination Provision

conflicts with every statute that appropriates funds for grants. See Ezell, 651 F.3d at

698. CWIT has not attempted to make such a showing. Because the Termination

Provision impacts grant statutes, including some involved in this case, that do not

require the government to fund equity-related projects, there are situations in which the

Executive Branch could lawfully terminate such grants without running afoul of the

separation of powers. See Sessions, 888 F.3d at 284 (explaining that Congress can

delegate authority to the President vis-à-vis the grant's organic statute). Due to CWIT's

failure to show that every grant's termination would be unconstitutional, its facial

challenge is unlikely to succeed.

       CWIT also challenges the Termination Provision as applied to its grants in

particular. Of the five government funded grants that CWIT asserts, the Court finds that

only the termination of the WANTO grant runs afoul of the Spending Clause. Under the

WANTO Act, the DOL "shall make grants to community-based organizations to provide

technical assistance to employers and labor unions." 29 U.S.C. § 2503(a). As the

Court has indicated, every example of "technical assistance" that the Act lists involves

supporting women, in particular, who hold nontraditional occupations. See id.

§ 2503(a)(1)–(7). Congress has apportioned $5 million towards grants under the

WANTO Act. See Further Consolidated Appropriations Act, Pub. L. 118-47 (2024); Full-

Year Continuing Appropriations and Extensions Act, Pub. L. No. 119-4 (2025);

Continuing Appropriations and Extensions Act, Pub. L. 118-83 (2025).

       Although the government has studiously avoided defining the term "equity," the



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Court is unable to conceive of any grant issued under the WANTO Act that would not be

an "equity-related" grant. "Equity," at least in common understanding, denotes

"freedom from disparities in the way people of different races, genders, etc. are treated."

Equity, Merriam-Webster.com, https://www.merriam-webster.com/dictionary/equity (last

visited April 14, 2025) (emphasis added). As the examples in the WANTO Act and the

Act's very name indicate, grants issued pursuant to the Women in Apprenticeship and

Nontraditional Occupations Act almost by definition are aimed at reducing the disparity

of women in apprenticeship and nontraditional occupations. See 29 U.S.C. § 2501(b)

(describing the purpose of the Act as "encourag[ing] employment of women in

apprenticeable occupations and nontraditional occupations").

       The Termination Provision directs the Executive to "terminate, to the maximum

extent allowed by law, all . . . 'equity-related' grants or contracts." Exec. Order No.

14151, 90 Fed. Reg. 8339, § 2(b)(i). When viewed in light of the WANTO Act and the

relevant appropriation statute that authorized funds for WANTO grants, this provision

seems to run headlong into Congress's directive that WANTO grants are to go toward

projects benefitting women. Congress expressly stated in the WANTO Act that the

Executive "shall" award grants for projects impacting women. 29 U.S.C. § 2503(a)

(emphasis added). Neither the WANTO Act nor its accompanying appropriations

statute authorize the Executive to bypass Congress's condition and policy goal requiring

the Secretary of Labor to use appropriated WANTO funds to support projects focused

on promoting employment opportunities for women. The government has not pointed to

any language in these statutes enabling the Executive to modify these goals or add

additional conditions to disburse WANTO funds, let alone to completely stop



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effectuating the purpose of the statute.

       In response, the government contends that the Termination Provision does not

require the termination of equity-related grants mandated by Congress. It relies upon

the term in the J20 Order stating that the termination of all equity-related grants is

required only "to the maximum extent allowed by law." Exec. Order No. 14151, 90 Fed.

Reg. 8339, § 2(b)(i). The government argues that this means that agencies and

departments may terminate only equity-related grants that are not mandated by

Congress, as doing otherwise would not be "allowed by law."

       To support its proposition, the government relies on the D.C. Circuit's decision in

Building and Construction Trades Department, AFL-CIO v. Allbaugh, 295 F.3d 28 (D.C.

Cir. 2002). In Allbaugh, the D.C. Circuit considered an executive order which barred

any federal agency, "to the extent permitted by law," from requiring or prohibiting

contractors or bidders from entering into a labor agreement. Id. at 29. The district court

granted a permanent injunction, finding that the executive order amounted to a condition

on federal funds that the Executive Branch lacked authority to impose without

congressional authorization. Id. at 31. The D.C. Circuit reversed. Because the

executive order limited agencies' power "to the extent permitted by law," the court

emphasized, the order did not infringe on Congress's spending power, as it only

"instruct[ed] . . . agenc[ies] to follow the law." Id. at 33. The court concluded that the

possibility an agency would contravene a congressional enactment based on the order

was irrelevant, as "[t]he mere possibility that some agency might make a legally suspect

decision . . . does not justify an injunction against enforcement of a policy." Id.

       Yet the D.C. Circuit is not the only federal circuit that has considered this sort of



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"savings" clause. In City and County of San Francisco v. Trump, 897 F.3d 1225 (9th

Cir. 2018), the Ninth Circuit considered an executive order that made so-called

sanctuary jurisdictions ineligible to receive federal grants "to the extent consistent with

law." Id. at 1232–33. The court distinguished Allbaugh, finding the savings clause

"does not and cannot override [the executive order's] meaning." Id. at 1240. Because

the order "unambiguously command[ed] action," the court was not persuaded that there

was only a "mere possibility that some agency might make a legally suspect decision."

Id. (quoting Allbaugh, 295 F.3d at 1240). The court further concluded that the

government's argument would lead it into "an intellectual cul-de-sac," as interpreting

"consistent with the law" as immunizing an executive order would make "judicial

review . . . a meaningless exercise." Id.; see also HIAS, Inc. v. Trump, 985 F.3d 309,

325 (4th Cir. 2021) (agreeing with the Ninth Circuit that "[t]he President cannot

immunize his Order from scrutiny" by using a savings clause).

       The Court finds that the Ninth Circuit's analysis more accurately fits the case at

hand. By expressly requiring agencies and departments to terminate all equity-related

grants, the Termination Provision "unambiguously commands action." City & County of

San Francisco, 897 F.3d at 1240. And because the WANTO Act requires DOL to issue

equity-related grants, there is more than a "mere possibility" that DOL, following the

requirements imposed by the Executive Order, will violate the WANTO Act's

prescriptions. Indeed, DOL's actions cited by CWIT further support that such is the

case—DOL Women's Bureau, which disburses the WANTO grant, has already

instructed CWIT "to cease all activities related to 'diversity, equity, and inclusion' (DEI)

or 'diversity, equity, inclusion, and accessibility' (DEIA) under their federal awards,"



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though it has not specifically singled out the WANTO grant. Vellinga Decl., Ex. 1. On

this record, the Court cannot ignore the Termination Provision's command for a

wholesale termination of equity-related grants based on "a purely theoretical savings

clause." HIAS, Inc., 985 F.3d at 325.

       In sum, the Court finds that CWIT has demonstrated a likelihood of success on

its claim that the Termination Provision violates the separation of powers when applied

to CWIT's WANTO grant. CWIT has not made this showing, however, regarding the

application of the Termination Provision to the other four grants that CWIT receives from

the government. CWIT has not been able to show that Congress intended for the other

grants to fund exclusively equity-related projects. Thus, the potential termination of

those grants does not appear to implicate the separate of powers.

       2.     Irreparable harm

       Given the Court's finding that CWIT has established a likelihood of success on its

claim that the Certification Provision violates its First Amendment rights, it has made a

sufficient showing of irreparable harm that would result from enforcement of this

provision. "[L]oss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury." Alvarez, 679 F.3d at 589 (quoting Elrod

427 U.S. at 373). Further, when First Amendment rights are at stake, the "quantification

of injury is difficult and damages are therefore not an adequate remedy." Id. (citation

omitted).

       The Court also finds that CWIT is likely to suffer irreparable harm if the

Termination Provision is enforced against the WANTO Act grants, which the Court has

concluded would violate the separation of powers. "When an alleged deprivation of a



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constitutional right is involved, most courts hold that no further showing of irreparable

injury is necessary." Ezell, 651 F.3d at 699 (quoting 11A Charles Alan Wright, et al.,

Federal Practice and Procedure § 2948.1 (2d ed. 1995)). This is especially true when

the right in question "protects . . . intangible and unquantifiable interests." Id. The

separation of powers is one such interest. By protecting against "the concentration of

power" that "would allow tyranny to flourish," it is "one of the most vital of the procedural

protections of individual liberty found in our Constitution." City of Chicago v. Barr,

961 F.3d 882, 892 (7th Cir. 2020) (quoting Gundy v. United States, 588 U.S. 128, 173

(2019) (Gorsuch, J., dissenting)). The termination of CWIT's WANTO grant would result

in the Executive unlawfully acting contrary to Congress's express direction. This

unauthorized use of power would be a clear separation of powers violation and lead to

CWIT suffering a deprivation of a constitutional right. Thus, no further showing of

irreparable injury or inadequacy of legal remedies is required.

       3.     Balancing of the harms & public interest

       "[I]njunctions protecting First Amendment freedoms are always in the public

interest." Alvarez, 679 F.3d at 589 (citation omitted). The same may be said of

injunctions protecting the separation of powers. See Barr, 961 F.3d at 918 (affirming

the lower court's conclusion that "the public interest was served by an injunction in that

it acts as a check on the executive's encroachment of congressional power that violates

the separation of powers"). Accordingly, "the balance of harms normally favors granting

preliminary injunctive relief because the public interest is not harmed by preliminarily

enjoining the enforcement of a statute that is probably unconstitutional." Alvarez,

679 F.3d at 589–90.



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        Further, because both Orders contain a severability clause, the unchallenged

provisions of the Orders will remain in effect even if the Court issues a preliminary

injunction. See Exec. Order No. 14151, 90 Fed. Reg. 8339, § 3 ("If any provision of this

order . . . is held to be invalid, the remainder of this order and the application of its

provisions to any other persons or circumstances shall not be affected thereby."); Exec.

Order No. 14173, 90 Fed. Reg. 8633, § 6 (same). Finally, issuance of a preliminary

injunction will not prevent the government from enforcing existing anti-discrimination

laws.

        For these reasons, the balance of harms and public interest weighs in favor of

granting the preliminary injunction.

E.      Scope of the preliminary injunction

        CWIT seeks to enjoin enforcement of the relevant provisions of the Orders

across the board, not just for itself but also for other grantees and contractors. It

contends that the Termination and Certification Provisions are particularly appropriate

for a nationwide injunction because the government relies on a categorical policy and

the facts would not require different relief for other federal grantees and contractors.

        The Seventh Circuit has held that a district court has discretion to grant a

nationwide injunction "to provide complete relief to plaintiffs, to protect similarly-situated

nonparties, and to avoid the chaos and confusion that comes from a patchwork of

injunctions." Barr, 961 F.3d at 916–17 (citation omitted); see also id. at 916 ("[B]oth

historical and current practice lends support to a determination that the courts possess

the authority to impose injunctions that extend beyond the parties before the court.").

Still, the Seventh Circuit has made clear that nationwide injunctions "present real



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dangers." Id. at 916. In particular, they "can truncate the process of judicial review" by

"elevating the judgment of a single district court," and thus may create "the potential for

forum shopping." Id. Such broad injunctive relief is therefore "appropriate only in rare

circumstances." Id.

       1.     Certification Provision

       The Court is persuaded that granting a preliminary injunction barring DOL from

enforcing the Certification Provision against any grantee or contractor is appropriate in

these circumstances. This is necessary to ensure that CWIT is provided complete relief

and to prevent infringement of the First Amendment rights of other grantees and

contractors. See id. at 920–21 ("[A] court may impose the equitable relief necessary to

render complete relief to the plaintiff . . . ."); see also Califano v. Yamasaki, 442 U.S.

682, 702 (1979) ("[T]he scope of injunctive relief is dictated by the extent of the violation

established . . . ."). The far-reaching impact of the Certification Provision combined with

its encroachment on grantees' and contractors' First Amendment rights create the type

of "exceptional circumstances" in which "the proper scope" of the injunctive relief is

nationwide. Barr, 961 F.3d at 917. In deciding on the proper scope of an injunction,

courts look to factors such as "the nature of the violation, the extent of the impact, the

urgency of the situation, the multiplicity of litigation, and the ability of others to even

access the courts." Id. In this case, these factors weigh in favor of a nationwide

injunction. In particular, the Court considers the significant nature of the violation and

the extensive impact of the Certification Provision.

       First, the nature of the First Amendment right at stake supports a broad

preliminary injunction that is not limited to CWIT. See Zamecnik v. Indian Prairie Sch.



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Dist. No. 204, 636 F.3d 874, 879 (7th Cir. 2011) ("When the court believes the

underlying right to be highly significant, it may write injunctive relief as broad as the right

itself." (citation omitted)). As explained earlier, CWIT is likely to succeed on the merits

in showing that the Certification Provision violates its First Amendment rights. And

because CWIT has raised a facial challenge, the Court's analysis that the Certification

Provision violates the First Amendment applies to all federal grantees and contractors.

The significance of the underlying First Amendment right underscores the critical need

and urgency to properly protect grantees and contractors from suffering irreparable

injury to their free-speech rights.

       Second, it is not an abstract possibility that the Certification Provision will impact

and chill speech beyond the federally-funded program. The J21 Order requires every

federal grant recipient to certify that it does not engage in any programs involving "illegal

DEI"—not just federally funded programs—without knowing which programs fall under

that umbrella. It is likely that few such recipients will choose to follow CWIT's example

and put their organizations at risk by suing the government. In fact, rather than spend

their resources to challenge their patron in court or risk False Claims Act litigation, it is

more likely that grantees and contractors will take the safer route, keep their heads

down, and choose to simply stop speaking on anything remotely related to what the

government might consider as promoting DEI or equity. A nationwide injunction is

appropriate to protect grantees and contractors who will have to choose between giving

up their First Amendment rights on one hand and bearing the risks inherent in biting the

hand that feeds them on the other. See Barr, 916 F.3d at 917.

       As one example of the likelihood of self-censorship by other federal grantees,



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JFF has stated that it will terminate its subcontract with CWIT due to fear that it will run

afoul of the Executive Orders by working with CWIT. As CWIT represented during the

preliminary injunction hearing, the only reason why JFF has not yet taken action to

terminate its subcontract with CWIT is this Court's TRO and the pending motion for

preliminary injunction.

       Further, there is a good chance that CWIT itself will not obtain complete relief

with regard to the Certification Provision in the absence of a nationwide injunction.

CWIT does not just work alone, but (at least in some instances) in conjunction with

other organizations that may be considered to provide DEI-related programming. The

Certification Provision requires grant recipients to certify that they do "not operate any

programs promoting DEI." Exec. Order No. 14173, 90 Fed. Reg. 8633, § 3(b)(vi). As a

result of this provision, CWIT will not be able to work with other recipients or sub-

recipients unless they also eliminate whatever may be considered as DEI-related

efforts.

       On this particular point, the government responds that CWIT may obtain

complete relief if the Court restricts its injunction to "CWIT and entities for whom CWIT

serves [a]s a sub-contractor or sub-grantee." Defs.' Second Mem. in Opp. at 15. The

Court, however, is not persuaded that an injunction limited in this way would completely

remedy the effect of the Certification Provision on CWIT. The Certification Provision

requires every agency to include in "every contract or grant award" a "term" certifying

the prospective recipient does not operate any programs promoting illegal DEI. Exec.

Order No. 14173, 90 Fed. Reg. 8633, § 3(b)(iv). This means the Certification Provision

likely will be in every contract and grant offered by an agency irrespective of whether



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the prospective recipient is protected under the injunction. It is true, of course, that an

injunction limited to CWIT and others for which it is a subgrantee would relieve them

from the need to make a certification. But a preliminary injunction limited in this way still

would impact any prospective grant recipient who might want to work with CWIT. The

recipient would have to affirmatively invoke the injunction vis-à-vis the government

before dealing with CWIT, effectively clueing the government into the fact that non-

grant-related advocacy relating to DEI—which the Certification Provision expressly

impacts—may come into play. There is a strong likelihood that the prospect of such

disclosure would chill any prospective fund recipient from partnering with CWIT. In such

situations, CWIT would suffer the consequences.

       The government's other arguments against a nationwide injunction are

unavailing. Concerns that nationwide relief might prevent percolation of the issues in

district and reviewing courts have not borne out in practice. Several courts continue to

review the Executive Orders at issue in this case. See Nat'l Ass'n of Diversity Offs. in

Higher Educ. v. Trump, --- F. Supp. 3d ---, No. 25 C 333 ABA, 2025 WL 573764 (D. Md.

Feb. 21, 2025); Nat'l Urban League v. Trump, No. 25 C 471 (D.D.C.); S.F. AIDS Found.

v. Trump, No. 25 C 1824 (N.D. Cal.). There is no indication that these courts will be

stifled in their review by an injunction entered here.

       Nor does the Court find the "evolving" factual record counsels in favor of limiting

the injunction, as the government suggests. Defs.' Second Mem. in Opp. at 18.

Nothing in the record indicates any attempt to remedy the constitutional infirmities in the

Certification Provision—indeed, the government's unwillingness or inability to define

what type of non-grant activity it reaches shows as much.



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Finally, the Court limits its injunction to enjoining DOL. CWIT has demonstrated a risk

of imminent harm with regards only to DOL, as illustrated by the emails DOL has

recently sent to CWIT and other grant recipients. And given the work that CWIT does,

which involves providing support for women in nontraditional occupations, it is hard to

see—and CWIT does not suggest—a basis upon which it would seek grants from

agencies other than DOL.

               b.    Termination Provision

        The Court has concluded that it is appropriate to issue a preliminary injunction

precluding DOL from terminating CWIT's WANTO grant funds. In contrast to the

Certification Provision, the Court does not see an appropriate basis for extending an

injunction beyond CWIT itself (whether as a grantee or subgrantee). If nothing else,

there is likely a low risk that other grantees who risk termination or are terminated will

not challenge enforcement of this provision against them. Such grantees likely will have

a sufficient incentive to challenge termination to retain their funding, and this provision,

unlike the Certification Provision, does not involve activity outside the government grant

itself. Although there certainly is a risk that a given grantee may modify its

programming to attempt to avoid termination, the Court is not persuaded at this juncture

that this risk outweighs the concerns involving nationwide injunctions expressed by the

Seventh Circuit. The Court therefore limits the reach of its injunction as to the

Termination Provision to enjoining DOL from terminating CWIT's WANTO grant.

F.      Bond

        The government asks the Court to require a bond as a condition of any injunctive

relief. See Fed. R. Civ. P. 65(c). The purpose of a bond is to ensure that the enjoined



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party is not permanently harmed "by an erroneous preliminary injunction." Roche

Diagnostics Corp. v. Med. Automation Sys., Inc., 646 F.3d 424, 428 (7th Cir. 2011). A

court must "take care that the bond is set high enough to cover the losses that [its]

handiwork could cause." Id.

       Still, Seventh Circuit caselaw identifies two scenarios in which a district court

may forgo requiring a bond. First, no bond is required if the enjoined party does not

demonstrate it will "incur any damages from the injunction." Habitat Educ. Ctr. v. U.S.

Forest Serv., 607 F.3d 453, 458 (7th Cir. 2010). Second, a court may forgo a bond

when "a bond that would give the opposing party absolute security against incurring any

loss from the injunction would exceed the applicant's ability to pay, and the district court

balances (often implicitly) the relative cost to the opponent of a smaller bond against the

cost to the applicant of having to do without a preliminary injunction that he may need

desperately." Id.

       Both scenarios support waiving the bond requirement in this case. The

government's request for bond offers no indication of the amount of expected damages

from an erroneous injunction, if any. See Swart v. City of Chicago, 440 F. Supp. 3d

926, 945 (N.D. Ill. 2020) (forgoing imposition of a bond when the plaintiffs requested

waiver and the defendant did not "demonstrate[] any costs or monetary damages that

might result from issuance of the injunction"). Perhaps more importantly, when a court

implicitly balances the potential cost of an injunction against the harm to speech if an

injunction is denied, free speech prevails. See Backpage.com, LLC v. Dart, 807 F.3d

229, 239 (7th Cir. 2015) (waiving bond after imposing a preliminary injunction to prevent

the violation of First Amendment rights); Nat'l Inst. of Fam. & Life Advocs. v. Raoul,



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685 F. Supp. 3d 688, 695 (N.D. Ill. 2023) (same). That is the case here. The Court

therefore declines to require CWIT to post a bond.

                                       Conclusion

        For the reasons stated above, the Court grants, in part, CWIT's motion for a

preliminary injunction [dkt. no. 25]. The Court will separately enter a preliminary

injunction order. CWIT is directed to submit, by 10:00 a.m. on April 15, a Word version

of a draft preliminary injunction to the undersigned judge's proposed order email

address. This should include an updated version of the current TRO's reporting

requirement. The TRO will remain in effect until the preliminary injunction is entered on

the docket. The telephonic status hearing set for April 24, 2025 is vacated and reset to

May 1, 2025 at 9:10 a.m., using call-in number 650-479-3207, access code 2305-915-

8729. The parties are to confer regarding any further proceedings needed to bring the

case to a final conclusion, and specifically regarding whether further discovery and/or

evidentiary development is required. A joint status report stating the parties' views in

this regard and proposing a schedule for further proceedings is to be filed by April 24,

2025.

Date: April 14, 2025
                                                 ________________________________
                                                      MATTHEW F. KENNELLY
                                                      United States District Judge




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